Case 4:09-cr-00043-SPF Document 589 Filed in USDC ND/OK on 09/16/14 Page 1 of 1

                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OKLAHOMA

                                    TRANSMITTAL SHEET
                                   (Notice of Appellate Action)

Date Notice filed: 9-16-2014

Style of Case: USA v. Springer et al

Appellant: Lindsey Kent Springer

District Court No: 09-cr-43-SPF-1
                   13-cv-145-SPF-TLW

Tenth Circuit Case No:

[ ] Amended NOA                                [ ] Cross Appeal

[ ] Interlocutory Appeal                       [ ] Successive Petition (2254 or 2255) (no fee)

Notice of appeal is enclosed to all parties (except to appellant in civil cases); Notice of Appeal,
docket entries and district court order are enclosed to 10th Circuit Court of Appeals:

District Court Judge: Judge Stephen P Friot,

                    APPEAL FILED BY PRO SE
                    Appeal Fee Paid                                         []
                    IFP Granted                                             []
                    Motion for IFP on Appeal Form Mailed/Given              [x]
                    Motion for IFP on Appeal Filed                          []
                    APPEAL FILED BY COUNSEL
                    Appeal Fee Paid                                         []
                    IFP Granted                                             []
                    Motion for IFP on Appeal Form Made Available            []
                    Motion for IFP on Appeal Filed                          []
                    Court Appointed Counsel (CJA/FPD)                       []
                    USA                                                     []


Signature of: S. Clark, Deputy Clerk           September 16, 2014            Phone: (918) 699-4700


                                                                                            AP-01 (5/12)
